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12
                                          SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                         )   NO. 3:20-CR-00086-WHO-1
                                                       )
15           Plaintiff,                                )   GOVERNMENT’S RESPONSE TO
                                                       )   DEFENDANT’S DEMAND FOR DISCLOSURE
16      v.                                             )   OF POST ARREST STATEMENT AFTER
                                                       )   MIRANDIZED BY SAN FRANCISCO POLICE
17   ALEJANDRO ALVAREZ,                                )
                                                       )   DEPARTMENT OFFICER REEDER
18           Defendant.                                )
                                                       )   Pretrial Conf.: December 20, 2021, 2 p.m.
19                                                         Trial:          January 10, 2022
                                                           Court:          Hon. William H. Orrick
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             Defendant Alejandro Alvarez moves for disclosure of an alleged “statement” that he “recalls”
22
     that he made when he placed phone calls, on the day of his arrest, in the presence of a police officer,
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     naming one officer in particular. Dkt. 80 at 1. The government has informed the defense that it is aware
24
     of no such statement, recorded or unrecorded, to disclose or to use at trial for any purpose.
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26
     DATED:          December 13, 2021                      ______/s/            ___
27                                                         JOSEPH TARTAKOVSKY
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     GOVT.’S RESP. TO DEF.’S DEMAND FOR DISCLOSURE OF POST ARREST STATEMENT
     Case No. 3:20-CR-00086-WHO-1                                           v. 7/10/2018
